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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on March 16, 2023

UNITED STATES OF AMERICA : CRIMINAL NO.
v. MAGISTRATE NO. 23-MJ-060
ELEANOR HOPPE, VIOLATIONS:
Defendant. 18 U.S.C. § 2422(b)

(Coercion and Enticement)

18 U.S.C. § 2423(a) and (e)

(Attempted Transportation with Intent to
Engage in Criminal Sexual Activity)

18 U.S.C. § 2252(a)(2)
(Distribution of Child Pornography)

21 U.S.C. § 853(p), 18 U.S.C. § 2253, 18
U.S.C. § 2428
(Forfeiture Allegation)
INDICTMENT
The Grand Jury Charges that:
COUNT ONE
Between on or about February 23, 2023, and on or about March 16, 2023, the defendant,
ELEANOR HOPPE, within the District of Columbia and elsewhere, using any facility and means
of interstate commerce, attempted to knowingly persuade, induce, entice, and coerce any
individual who had not attained the age of 18 years old to engage in any sexual activity for which

any person can be charged with a criminal offense.

(Coercion and Enticement, in violation of Title 18, United States Code, Section 2422(b))
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COUNT TWO

On or about March 16, 2023, the defendant, ELEANOR HOPPE, within the District of
Columbia and elsewhere, attempted to knowingly transport an individual who had not attained the
age of 18 years old in interstate commerce with the intent that the individual engage in any sexual
activity for which any person can be charged with a criminal offense.

(Attempted Transportation with Intent to Engage in Criminal Sexual Activity, in

violation of Title 18, United States Code, Section 2423(a) and (e))

COUNT THREE

On or about March 16, 2023, the defendant, ELEANOR HOPPE, within the District of
Columbia and elsewhere, did knowingly distribute any visual depiction using any means and
facility of interstate and foreign commerce, and that has been shipped and transported in and
affecting interstate and foreign commerce, and which contains materials which have been mailed
and so shipped and transported, by any means, including by computer, and the production of such
visual depiction involved the use of a minor engaging in sexually explicit conduct, and the visual
depiction was of such conduct.

(Distribution of Child Pornography, in violation of Title 18, United States Code, Section

2252(a)(2))
FORFEITURE NOTICE

 

1. Upon conviction of the offense alleged in Counts One and Two of this Indictment,
the defendant, ELEANOR HOPPE, shall forfeit to the United States (1) such person’s interest in
any property, real or personal, that was used or intended to be used to commit or to facilitate the
commission of such violation; and (2) any property, real of person, constituting or derived from
any proceeds that such person obtained, directly or indirectly, as a result of such violation, pursuant
to Title 18, United States Code, Section 2428.

2. Upon conviction of the offense alleged in Count Three of this Indictment, the
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defendant, ELEANOR HOPPE, shall forfeit to the United States: (1) any visual depictions
described in Title 18, United States Code, Sections 2251, 2251A, 2252, 2252A, or 2260, or any
book, magazine, periodical, film, videotape, or other matter which contains any such visual
depiction, which was produced, transported, mailed, shipped or received in violation of Chapter
110 of the United States Code; (2) any property, real or personal, constituting or traceable to gross
profits or other proceeds obtained from such offense; and (3) any property, real or personal, used
or intended to be used to commit or to promote the commission of such offense or any property
traceable to such property, pursuant to Title 18, United States Code, Section 2253.

3. If any of the property described above as being subject to forfeiture, as a result of

any act or omission of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property that cannot be divided
without difficulty;
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the defendant shall forfeit to the United States any other property of the defendant, up to the value
of the property described above, pursuant to 21 U.S.C. Section 853(p).

(Criminal Forfeiture, pursuant to Title 18, United States Code, Section 2428, Title 18,
United States Code, Section 2253 and Title 21, United States Code, Section 853(p))

A TRUE BILL

FOREPERSON

MATTHEW M. GRAVES
United States Attorney

 
